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 4                             IN THE UNITED STATES DISTRICT COURT
 5
                                 WESTERN DISTRICT OF WASHINGTON
 6
                                               AT SEATTLE
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        P. POE 5 and P. POES 2-4 and 6-75,                Case No. 2:24-cv-00170-JHC
 8      individually and on behalf of others
        similarly situated,
 9                                                        ORDER GRANTING PEOPLE FOR
                               Plaintiffs,
10                                                        THE ETHICAL TREATMENT OF
                         v.                               ANIMALS, INC.’S UNOPPOSED
11                                                        MOTION TO INTERVENE AS
        THE UNIVERSITY OF WASHINGTON, a                   DEFENDANT
12      Washington public corporation; ELIZA
        SAUNDERS, Director of Public Records
13      and Open Public Meetings at the University
        of Washington, in their official capacity,
14
                               Defendants,
15
                         and
16
        PEOPLE FOR THE ETHICAL
17      TREATMENT OF ANIMALS, INC., a
        Virginia nonstock corporation,
18
                               Intervenor-Defendant.
19

20           This matter comes before the Court on an unopposed motion by People for the Ethical

21    Treatment of Animals, Inc. (“PETA”) to intervene in this case as a defendant pursuant to Fed. R.

22    Civ. P. 24. Dkt. # 13. The Court, having considered PETA’s motion, the materials filed in

23    support thereof, and the pleadings and papers of record in this matter, hereby FINDS that the

24    requirements for PETA’s intervention under Rule 24 are satisfied.

25           The Court therefore ORDERS:

26           1. That PETA’s motion to intervene is GRANTED; and

27           2. That PETA shall hereafter be considered a defendant in this case.

     ORDER GRANTING PEOPLE FOR THE ETHICAL
     TREATMENT OF ANIMALS, INC.’S UNOPPOSED
     MOTION TO INTERVENE AS DEFENDANT - 1
              Case 2:24-cv-00170-JHC Document 15 Filed 02/20/24 Page 2 of 2




 1          DATED this 20th day of February, 2024.
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 3                                                   _________________________________
                                                     John H. Chun
 4                                                   United States District Judge
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     ORDER GRANTING PEOPLE FOR THE ETHICAL
     TREATMENT OF ANIMALS, INC.’S UNOPPOSED
     MOTION TO INTERVENE AS DEFENDANT - 2
